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  8                        UNITED STATES BANKRUPTCY COURT
  9            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10                                              Case No. 8:21-bk-11710-ES

 11   In re:                                     Chapter 7

 12   JAMIE LYNN GALLIAN,

 13                                                          TO HOUSER BROS. CO.
 14              Debtor.                             RANCHO DEL REY MOBILE
                                                 HOME ESTATES’ MOTION
 15                                              OBJECTING TO DEBTOR’S CLAIMED
                                                 HOMESTEAD EXEMPTION
 16

 17
 18                                              Hearing Date: June 2, 2022
                                                 Time:          10:30 a.m.
 19                                              Courtroom: 5A
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  1                             PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is:
      A true and correct copy of the foregoing document entitled (specify):
  3        HOUSER BROS. CO. dba RANCHO DEL REY
      TO DEBTOR’S CLAIMED HOMESTEAD
  4    will be served or was served (a) on the judge in chambers in the form and manner required by LBR
      5005-2(d); and (b) in the manner stated below:
  5
          TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) May , 2022, I checked the CM/ECF docket for this bankruptcy case
  7   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
               Aaron E DE Leest adeleest@DanningGill.com,
  9            danninggill@gmail.com;adeleest@ecf.inforuptcy.com
               Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 10            Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
               D Edward Hays ehays@marshackhays.com,
 11            ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend o
               za@ecf.courtdrive.com
 12            Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
               Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
 13            Laila Masud lmasud@marshackhays.com,
               lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
 14            Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
               Valerie Smith claims@recoverycorp.com
 15            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

 16       SERVED BY UNITED STATES MAIL:
      On (date) May , 2022, I served the following persons and/or entities at the last known addresses in this
 17   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
      the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
 18   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 19
                                                                Michael D Poole
 20                                                             Feldsott & Lee
                                                                23161 Mill Creek Dr Ste 300
 21                                                             Laguna Hills, CA 92653

           SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 22   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) May , 2022, I served the following persons and/or entities by personal delivery, overnight mail
 23   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 24   mail to, the judge will be completed no later than 24 hours after the document is filed.

 25           The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701

 26
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 27
       May     , 2022
 28    Date                     Printed Name                                 Signature




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